   Case: 1:18-cv-00668-TSB Doc #: 20 Filed: 02/10/20 Page: 1 of 2 PAGEID #: 185




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION
 T.W. and K.W. as Parents and Legal)                      Case No. 1:18-cv-668
 Guardians of JANE DOE, a Minor    )
                                   )                      Judge Timothy S. Black
                      Plaintiffs,  )
                                   )
 v.                                )
                                   )
 FINNEYTOWN LOCAL SCHOOL DISTRICT, )
 FINNEYTOWN LOCAL SCHOOL DISTRICT )
 BOARD OF EDUCATION, and GRANT     )
 ANDERSON, LAURIE BANKS, RHIANA    )
 BLAUGHER, JENNIFER DINAN, DOUGLAS )
 DIRR, DOUGLAS LANTZ, ALLISON      )
 McCREA, CATHY McNAIR, FRANK       )
 McPHERSON, ERIC MUCHMORE, TERRI   )
 NOE, JANE ROE, MARLO THIGPEN, and )
 NICHOLAS TIPPENHAUER individually )
 and in their official capacities, )
                                   )                      PLAINTIFFS’ NOTICE OF
                     Defendants.   )                      DISMISSAL UNDER RULE 41
                                   )

        Plaintiffs dismiss from this action Defendants Grant Anderson, Rhiana Blaugher, and

Emily Styles pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). In addition, Plaintiffs dismiss from this

action Finneytown Local School District pursuant to the Court’s order dated October 7, 2019 (Doc.

#10).

                                                               Respectfully Submitted,


                                                               s/ Bennett P. Allen
                                                               Bennett P. Allen (96031)
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                                                               Trial Attorney for Plaintiffs
   Case: 1:18-cv-00668-TSB Doc #: 20 Filed: 02/10/20 Page: 2 of 2 PAGEID #: 186




                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of February 2020, a copy of the foregoing Plaintiffs’
Notice of Dismissal Under Rule 41 was filed using the Court’s CM/ECF system. Notice of this
filing will be sent to all counsel of record by operation of the Court’s electronic filing system.

                                                            s/Bennett P. Allen
                                                            Bennett P. Allen
